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                       Case 1:19-cv-08694-VM Document 33 Filed 10/03/19 Page 1 of 3
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                                               DISTRICT ATTORNEY
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                                                                              October 3, 2019

              BY HAND DELIVERY
          Judge Victor Marrero
          U.S. District Court Judge
          Southern District of New York
          500 Pearl Street, New York, N.Y.

                                                     Re:     Donald}. Trump v. Cyrus R. Vance,Jr.
                                                                 Case No. 1:19-cv-08694 (VM)

              Dear Judge Marrero:

                We write to respond briefly to the "Statement of Interest'' filed by the United States
          Department of Justice ("DOJ") in this litigation late yesterday afternoon.

                  By way of its seemingly simple submission, the DOJ has elected to insert itself into this private
          lawsuit to support the Plaintiffs extravagant claim that, given his current position, he and all of his
          prior business associates and related companies are immune, not just from prosecution, but from any
          routine grand jury inquiry into transactions undertaken before he was a government employee. This
          DOJ position is all the more audacious in view of the fact that, until quite recently and for more than
          a year, DOJprosecutors in this very District conducted a highly publicized grand jury investigation into
          some of the very same transactions and actors that have been reported to be at issue in this matter.
          For all the reasons articulated in our earlier brief (Dkt. 16), the Plaintiffs position is not and should
          not be the law. In particular, the DOJ submission ignores the reality underlying Plaintiffs lawsuit in
          three important ways:

                   First, while the DOJ claims there is no cognizable harm to the People of the State of New
          York from a stay that "maintain[s] the status quo" (Dkt. 32: at 10), the true exigency here stems from
          the fact that delaying enforcement of the subpoena will likely result in the expiration of the statutes of
          limitation that would apply to some of the transactions at issue in the grand jury investigation (Dkt.
          16: at 19). Also of concern is the State's sovereign right to enforce its criminal laws free from federal
          interference.

                  Second, in contrast, the DOJ ignores the fact that there is no credible claim of irreparable
          harm to Plaintiff, should subpoena compliance resume. This is because a) the documents in question
          are to be produced by a third-party business, which would visit neither distraction nor burden on the
          Plaintiff whatsoever; b) there is no risk of publication of the materials the Plaintiff is so concerned
          about, given the statutory requirements of grand jury secrecy; and c) there is nothing inherently
          "privileged" or sacrosanct in the first place about a president's tax returns (especially returns that stem
.   "               Case 1:19-cv-08694-VM Document 33 Filed 10/03/19 Page 2 of 3
                                                                                                    October 3, 2019


        from periods when he was in private business). The Plaintiff himself, before taking office, agreed to
        make such documents public,1 and every prior president for the past forty years has done so without
        incident. (And, of course, the returns at issue have been filed alreacfy with at least two other
        governmental agencies: the federal tax authorities and those in the State of New York.) Plaintiff has
        not articulated any reason why a production of his tax returns, by a third-party and under the
        protection of grand jury secrecy, would create "irreparable harm" for his or any presidency.

                 Third, the DOJ submission ignores the settled law. As an initial matter, the DOJ relies on 42
        U.S.C. § 1983 ("§ 1983") to posit the existence of subject matter jurisdiction and an exception to the
        Anti-Injunction Act (Dkt. 32: at 2). This reliance is misplaced. The Article II right asserted by the
        Plaintiff here is not cognizable under § 1983, because it is "'too vague and amorphous."' Golden State
        Transit Co,p. v. City ojLJJs Angeles, 493 U.S. 103, 106 (1989) (quoting Wright v. Roanoke Redevelopment and
        Housing Authority, 4 79 U.S. 418, 431-32 [1987]). Indeed, "the availability of the § 1983 remedy turns
        on whether the statute, by its terms or as interpreted, creates obligations 'sufficiently specific and
        definite' to be within 'the competence of the judiciary to enforce,' [and] is intended to benefit the
        putative plaintiff." Golden State Transit Co,p., 493 U.S. at 108 (internal citation omitted). The Plaintiff's
        claimed Article II right to "freedom from enforcement of the subpoena" (Dkt. 32: at 3) exists neither
        in the terms of Article II nor in case law interpreting that provision. 2

                 Even if Plaintiff were to have a colorable claim under Article II and § 1983, this Court should
        still abstain under Younger. As an initial matter, the DOJ ignores the plain language of Sprint, which
        does not stand for the proposition that federal courts "sometimes" abstain from suits involving state
        criminal proceedings (Dkt. 32: at 2), but instead clearly reaffirmed the long-held principle that: "Younger
        exemplifies one class of cases in which federal-court abstention is required: When there is a parallel,
        pending state criminal proceeding, federal courts must refrain from enjoining the state prosecution."
        Sprint Communications, Inc. v. Jacobs, 571 U.S. 69, 72 (2013) (emphasis added). Here, there is clearly a
        pending state criminal proceeding that, as described above, is being irreparably harmed by Plaintiff's
        tactical requests for delay.

                In addition, contrary to DOJ's contention (see Dkt. 32: at 5, 8 [citing Moore v. Sims, 442 U.S.
        415 (1979)]), New York state proceedings do afford Plaintiff an adequate opportunity to raise any
        constitutional claims: while we firmly believe he would ultimately lose on the merits, Plaintiff can bring
        his § 1983 lawsuit in state court. See, e.g., Hqywood v. Drown, 556 U.S. 729, 734-36 (2009). As the
        Supreme Court stated in Hqywood, "state courts as well as federal courts are entrusted with providing
        a forum for the vindication of federal rights violated by state or local officials acting under color of
        state law." 556 U.S. at 735. In short, although DOJ appears to presume that state courts cannot
        properly entertain Plaintiff's claims, that stands in stark contrast to the Supreme Court's repeated
        holding that "'state courts have inherent authority, and are thus presumptively competent, to


        1
         See Meet the Press, Donald Trump: I will Release Tax Returns, NBC News,Jan. 24, 2016, available at
        https://www.nbcnews.com/meet-the-press/video/donald-trump-i-will-release-tax-returns-
        607836227723.
        2
         Even in a world where such a right existed under Article II (a position that even the DOJ does not
        explicitly embrace), it would be for the United States alone to assert it, because the violation would be
        against the Office of the President. It would not be enforceable by this Plaintiff acting in his individual
        capacity to prevent disclosure of records largely pre-dating his time in office and related to third-party
        business entities and individuals.

                                                       Page 2 of 3
'   ...              Case 1:19-cv-08694-VM Document 33 Filed 10/03/19 Page 3 of 3
                                                                                                            October 3, 2019


          adjudicate claims arising under the laws of the United States."' Id. at 735-36 (quoting T qfjlin v. Levitt,
          493 U.S. 455, 458-59 [1990]).

                  Notably, while the DOJ avoids taking any position on the ultimate merits and the Plaintiff's
          entitlement to the emergency relief he seeks, the DOJ nonetheless invites the Court to provide
          "interim relief' to "maintain the status quo" (Dkt. 32: at 10). This is a gently phrased invitation to
          ignore the clear standards applied in the Second Circuit for imposition of a preliminary injunction,
          and to permit Plaintiff to evade the consequence of his failure to meet those standards.

                   In short, the Plaintiffs only goal in this litigation, now supported by the DO] itself, is to obtain
          as much delay as possible, through litigation, stays, and appeals. If delays are achieved, to the
          frustration of the New York state inquiry, the Plaintiff will win (as will the various individuals and
          companies at issue in the grand jury investigation), and the state interest will be irreparably harmed,
          even without an actual decision on the merits.

                 We reiterate our position that this matter should be dismissed pursuant to the settled law
          mandating abstention. Further, for all the reasons articulated in our brief (Dkt. 16: at 11-19), Plaintiffs
          motion for injunctive relief should be denied, including on the ultimate merits, which turn on the law
          and have been, at this point, fully briefed and argued.




                                                              Carey R. D ne, General Counsel
                                                              Christopher Conroy
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                                                              Assistant District Attornrys
                                                              New York County District Attorney's Office




          CC: all counsel of record (via email)
                                                   The ~Jerk_ of Court is directed to,enter into the public record
                                                   IJf 1s act10n the letter above submitted to the Court by          :;


                                                   SO ORDERED..

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